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IN THE UNITED STATES DISTRICT COURT FILED
FOR THE WESTERN DISTRICT OF NORTH CAROLINA ASHEVILLE, NC
Civil Action No. 1:21-cv-305-MR-WCM
MAR 04 2024

U.S. DISTRICT COURT |
W. DISTRICT OF N.C.

MOTION TO COMPEL DISCOVERY

BROTHER T. HESED-EL,

Plaintiff,
V.

ROBIN BRYSON, et al,

Defendants.

COMES NOW, Plaintiff Brother T. Hesed-El (“Plaintiff”), pursuant to the Court’s Pretrial
Order and Case Management Plan, dated October 16, 2023, and Plaintiff's Rule 37 Discovery
Dispute letters dated February 23, 2024 and March 2, 2024, and hereby respectfully moves the
Court to compel the defendants to provide sufficient discovery responses. Pursuant to Local Rule

7.1, the parties have consulted on these matters and Defendants oppose this motion.

WHEREFORE, Plaintiff prays that this motion is granted.

Respectfully, this 23"! day of Sha’ban in the year 1445 A.H.

Led Brathan 7. Nesad- Cb, ALL
Bro. T. Hesed-El, Plaintiff pro se
cio TAQ] EL AGABEY MANAGEMENT
30 N Gould St, Ste. R, Sheridan, WY 82801
Ph: (762) 333-2075 / teamwork3@gmail.com ~

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CERTIFICATE OF SERVICE
The undersigned hereby certifies that this MOTION TO COMPEL DISCOVERY has been
sealed in an envelope with sufficient postage affixed thereon, and deposited into the exclusive
custody of the United States Post Office, to ensure delivery to:
Robin Bryson and Mission Hospital Inc.
% Attorney Daniel H. Walsh
ROBERTS & STEVEN, P.A.
Post Office Box 7647

Asheville, North Carolina 28802
dwalsh@roberts-steven.com

March 4, 2024

Bro. T. Hesed-El, Plaintiff pro se

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